 

CaSe 18-04093-LA7 Filed 07/09/18 Entel’ed 07/09/18 14201246 DOC 1 PQ. 1 Of 55

Fill in this information to identify your case:

 

United States Bankruptcy Court for the: §

Southem Dismct of Ca|ifornia

m Chapter7

U Chapter11

l:l Chapter12 § _ _ '

El chapter13 § n Check if this is an

0¢¢/¢%2€?0 _ l V_ _ § _ amended filing

l
l
l
§ (State) §
§ Case number (/fknown); /é’ gap 2 § Chapter you are Hling under: §
§ l
l
l
l

Official Form 101
Voluntary Petition for lndividuals Fi|ing for Bankruptcy 12111

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For examp|e, if a form asks, “Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. |n joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
infonnation. |f more space is needed, attach a separate sheet to this fonn. On the top of any additional pages write your name and case number
(if known). Answer every question.

m ldentify Yourself

 

 

 

 

 

 

 

 

 

 

 

 

About Debtor 1: About Debtor 2 (Spouse 0nly in a Joint Case):
1. Your full name
Wn'te the name that is on your
government-issued picture carlton _
identihcation (for example, F"St name F"St name
your drivers license or
passport). Middle name Middle name
Bring your picture Roark
identification to your meeting Last name '-a$t name
with the trustee.
Sumx (Sr_, Jr., ll, lll) Sufnx (sr._ Jr., ll, lll)
2. Al| other names you
have used rn the last 8 Fi,st name Fi,s! name
years
|nc|ude your married or Middle name Middle name
maiden names.
Last name Last name
First name First name
Middle name Middle name
Last name Last name
3. Only the last 4 digits of
yourSocia|Security Xxx ' XX _4_62-0_- _ _ xxx _ XX __- _- _- _-
number or federal oR oR
individual Taxpayer
identification number 9 XX _ XX ___ _ _____ __ 9 XX _ XX __ _ __ _
(lT|N)

 

 

Officia| Form 101 Voluntary Petition for individuals Fi|ing for Bankruptcy page 1

 

 

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Deb,o, 1 Carlton

Roark

 

Firs\ Narne Middle Name

Las| Name

Case number (irkmwn)

 

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4. Any business names
and Employer
identification Numbers
(ElN) you have used in
the last 8 years

include trade names and
doing business as names

About Debtor 1:

a l have not used any business names or E|Ns.

877loanoflicer.com
Business name

310loanofl1`cer.com
Business name

About Debtor 2 (Spouse Only in a Joint Case):

El l have not used any business names or E|Ns.

Business name

Business name

J

T

 

 

5. Where you live

16249 Via Embe|eso

lf Debtor 2 lives at a different address:

 

 

 

 

Number Street Number Street

San Diego, CA 92128

City State ZlP Code Ci’fy State ZlP Code
San Diego County

County County

lf your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

lf Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

Number Street Number Street

P.O. Box 503203

P.O. Box P.O. Box

San Diego, CA 92150

city state ziP code City State ZlP Code

: 6. Why you are choosing Check one: Check one:

this district to file for _ _ _ _ _ _ _ _
bankruptcy M Over the last 180 days before filing this petition, El Over the last 180 days before Gllng this petition,

i
l
i
i
i
i
l
l
i

Official Form 101

l have lived in this district longer than in any
other district.

cl l have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

Voluntary Petition for individuals Fi|ing for Bankruptcy

 

l have lived in this district longer than in any
other district

El l have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

page 2

 

Debtor 1

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Car|ton

Roark

Case number (ifknawn)

 

FirSt Name

Middle Name

LBS\ Na"\e

m Tell the Court About Your Bankruptcy Case

7.

10.

11.

The chapter of the
Bankruptcy Code you
are choosing to file
under

How you will pay the fee

Have you t”i|ed for
bankruptcy within the
last 8 years?

Are any bankruptcy
cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

Do you rent your
residence?

Official Forrn 101

 

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for lndividuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box_

m Chapter 7

El Chapter 11
El Chapter 12
Cl Chapter 13

m l will pay the entire fee when | file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typical|y, if you are paying the fee
yourself, you may pay with cash, cashier’s check, or money order. lf your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address

Cl l need to pay the fee in installments lf you choose this option, sign and attach the
Application for lndividuals to Pay The Filing Fee iri Installments (Official Form 103A).

l;l l request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). lf you choose this option, you must till out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

 

 

m No
n Yes. District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
m No
n Yes. Debtor Relationship to you
District When Case number, if known
MM/ DD /YYYY
Debtor Relationship to you
District When Case number, if known
MM / DD / YYYY
El No. Go to line 12_
m Yes. Has your landlord obtained an eviction judgment against you?

m No. Go to line 12.

n Yes. Fill out lnitial Statement About an Eviction Judgment Against You (Form 101A) and file it with
this bankruptcy petition.

Voluntary Petition for lndividuals Filing for Bankruptcy page 3

 

 

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Debtor 1 Carlton Roark Case number (iriwown)

First Name Middle Name Last Name

Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor E| NO_ 90 to part 4_
of any fu||- or part-time
business? m Yes. Name and location of business

A sole proprietorship is a -
business you operate as an Carlton Roark, Commercial Real Estate Broker
Name of business, if any

individual, and is not a

 

 

 

 

separate legal entity such as

a corporation‘ pannership' or 1 1251 Rancho Carme| Dr.

LLC_ Number Street

lf you have more than one #503203

sole proprietorship, use a

separate sheet and attach it San Die 0 92150
to this petition. City g sizes ziP Code

Check the appropriate box to describe your business.'

cl Hea|th Care Business (as defined in 11 U.S.C. § 101(27A))
El Single Asset Real Estate (as defined in 11 U.S.C. § 101 (51 B))
El Stockbroker (as defined in 11 U.S.C. § 101(53A))

El Commodity Broker (as defined in 11 U.S.C. § 101(6))

m None of the above

13. Are you filing under If you are filing under Chapter 1 1, the court must know whether you are a sma/l business debtor so that it
Chapter 11 of the can set appropriate deadlines |f you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
are you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
debt r?

° __ El No_ iam not ming under chapter 11.
For a definition of small
business debtor» See l:\ No. | am filing under Chapter 11, but | am NOT a small business debtor according to the definition in
11 U-S-C- § 101(51|3)~ the Bankruptcy Code.

Cl Yes. l am filing under Chapter 11 and l am a small business debtor according to the definition in the
Bankruptcy Code.

m Report if You Own or Have Any Hazardous Property or Any Property That Needs lmmediate Attention

 

14. Do you own or have any |Z| No
property that poses or is
alleged to pose a threat n Yes. What is the hazard?
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For example, do you own
perishable goods, or livestock

that must be fed, or a building
that needs urgent repairs?

 

 

lf immediate attention is needed, why is it needed?

 

 

Where is the property?

 

Number Street

 

 

City State ZlP Code

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Roark

LBS! Name

Carlton

Fir$t Name

Debtor 1 Case number (iriimwn)

Middle Name

m Explain Your Efforts to Receive a Briefing About Credit Counseling

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

15. Tell the court whether

you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices |f you
cannot do so, you are not
eligible to file.

|f you Hle anyway, the court
can dismiss your case, you
will lose whatever ming fee
you paid, and your creditors
can begin collection activities
again.

thcia| Fomi 101

You must check one:

m l received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

L_.l l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST tile a copy of the certiHcate and payment
plan, if any.

cl l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to tile this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. |f you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days

El l am not required to receive a briefing about
credit counseling because of:

[;I lncapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

El Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

n Active duty. | am currently on active military

duty in a military combat zone.

lf you believe you are not required to receive a
briefing about credit counseling, you must tile a
motion for waiver of credit counseling with the court.

Voluntary Petition for lndividuals Filing for

You must check one:

Cl l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certihcate and the payment
plan, if any, that you developed with the agency.

El l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certiicate and payment
plan, if any.

n l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcyl and what exigent circumstances
required you to me this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you iled for bankruptcy.

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. |f you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

cl l am not required to receive a briefing about
credit counseling because of:

El lncapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

cl Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even alter l
reasonably tried to do so.

n Active duty. | am currently on active military

duty in a military combat zone.

lf you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Bankruptcy page 5

 

 

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Debtom Car|ton Roark
First Name Middle Name Last Name

Case number (irknown)

 

 

m Answer These Questions for Reporting Purposes

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)

16' what kind °f debts do as “incurred by an individual primarily for a personal, family, or household purpose."

you have?
w No, Go to line 16b.

n Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment

a No, Go to line 160.
El Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts
$1MM+ judgment incurred as a result of my employer

 

 

17. Are you filing under _
Chapter 7? Cl No. | am not filing under Chapter 7. Go to line 18.

Do you estimate that after m Yes. l arn filing under Chapter 7. Do you estimate that after any exempt property is excluded and
any exem pt property is administrative expenses are paid that funds will be available to distribute to unsecured creditors?

excluded and m No
administrative expenses
are paid that funds will be C| Yes

available for distribution
to unsecured creditors?

 

ia. How many creditors do Zl 149 El 1,000-5,000 Cl 25,001-50,000
you estimate that you El 50-99 ill 5,001-10,000 E| 50,001-100,000
°We? El 100-199 El 10,001-25,000 E] More than 100,000
El 200-999
19. How much do you El $0-$50,000 El $1,000,001-$10 million El $500,000,001-$1 billion

estimate your assets to
be worth?

E] $50,001-$100,000
El $100,001-$500,000

El $500,001-$1 million

El $10,000,001-$50 million
El $50,000,001-$100 million
El $100,000,001-$500 million

El $1,000,000,001-$10 billion
Cl $10,000,000,001-$50 billion
E| More than $50 billion

 

20. How much do you
estimate your liabilities

El $o-$so,ooo
El $50,001-$100,000

lZl $1,000,001-$10 million
El $10,000,001-$50 million

El $500,000,001-$1 billion
El $1,000,000,001-$10 billion

 

t° be? n $100,001-$500,000 m $50,000,001-$100 million El $10,000,000,001-$50 billion
n $500,001-$1 million a $100,000,001-$500 million n More than $50 billion
l have examined this petition, and | declare under penalty of perjury that the information provided is true and
F°r you correct

Official Form 101

lf l have chosen to hle under Chapter 7, l am aware that l may proceed, if eligible, under Chapter 7, 11,12, or 13 §
of title 11, United States Code. l understand the relief available under each chapter, and l choose to proceed l

under Chapter 7.

lf no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document l have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

l understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250 000, or imprisonment for up to 20 years, or both.
18 U. S.C. §§M 152 1341, 1519, and 3

X

Signaturew of Debtor/M 1
Executed on 07/09/2018

ask

 

Signature of Debtor 2

Executed on
MM/ DD /YYYY

MM /DD /YYYY

Voluntary Petition for lndividuals Filing for Bankruptcy

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Debtor 1 Carlton Roark Case number (irknown)

Fiist Name Middle Name Last Name

 

l, the attorney for the debtor(s) named in this petition, declare that l have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligib|e. l also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that l have no
lf you are net represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.

by an attomey, you do not

For your attomey, if you are
represented by one

 

 

 

 

 

 

 

 

need to file this page. x
Date
Signature of Attomey for Debtor MM / DD / YYYY
Pn'nted name
Firm name
Number Street
City State ZlP Code
Contact phone Emai| address
Bar number State

Officia| Form 101 Voluntary Petition for lndividuals Fi|ing for Bankruptcy page 7

 

 

 

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Debior 1 Carlton

Roark Case number (ifknown)

 

First Name Middle Name

For you if you are filing this
bankruptcy without an
attorney

lf you are represented by
an attomey, you do not
need to file this page.

Official Form 101

Lasf Name

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly tile and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For examp|e, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. lt that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules lf you do not list a debt, the debt may not be discharged lf you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. lndividual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

lf you decide to file without an attomey, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

m No

m Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

n No

m Yes

Did you pay or agree to pay someone who is not an attorneth help you fill out your bankruptcy forms?
m No

El Yes Name of Person
Attach Bankruptcy Petition Preparer’s Notice, Declaration and Signature (thcial Form 119)

 

By signing here, l acknowledge that l understand the risks involved in filing without an attorney. l
have read and understood this notice, and l am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property ifl do not properly handle the case.

X W%WMX

 

 

 

 

 

Signature cf Debtor 1 Signature of Debtor 2
Date 07/09/2018 Date
MM/DD /YYYY MM/ DD/YYYY
Contact phone 31 0-562-6633 Contact phone
Cell phone 31 0'562'6633 Cell phone
Email address 31 O|Oanofflce r@g mail ~Com Email address

 

 

Voluntary Petition for lndividuals Fi|ing for Bankruptcy page 8

 

Fill in this information to identify your case:

Carlton Roark

Fil’Si Name Middle Name Last Name

Debtor 1

 

Debtor 2

(Spouse, if filing) First Name Middle Name test Name

United States Bankruptcy Court for the: Southem District of CA
(State)

case number El check if this is an
(tf known)

 

 

amended filing

 

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l

Officia| Form 1068um
Summary of Your Assets and Liabilities and Certain Statistical lnformation 12115
Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct

information. Fill out all of your schedules first; then complete the information on this fomi. lf you are filing amended schqu after you file
your original fom\s, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

 

Your assets
Va|ue of what you own
1. Schedule A/B: Pmperty (Oflicial Form 106A/B)

 

 

 

 

 

0.00
1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................ $
1b Copy line 62, Total personal property, from Schedule A/B ............................................................................................. $ 29 Q§Z QQ
1c. Copy line 63, Total of all property on Schedule A/B ....................................................................................................... $ 29 067_00
m Summarize Your Liabilities
Your liabilities
Amount you owe
2. Schedule D: Creditors Who Have Claims Secuned by Propen‘y (thcia| Form 106D)
2a. Copy the total you listed in Column A, Amount ofclaim, at the bottom of the last page of Part 1 of Schedule D ............ 3 ____3_i_99.9l
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) 0 00
3a Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ........................................... s ___*-

3b.Co the total claims from Part2 non rior` unsecured claims from line 6' of ScheduIeE/F .......................................
py ‘ " "y ) ’ + s 859,713.31

 

Your total liabilities $ 863 622.68

_L_.__._

 

 

 

m Summarize Your lncome and Expenses

4. Schedule I: Your lncome (Offlcial Form 106|)
Copy your combined monthly income from line 12 of Schedule l ........................................................................................ $ __2»30-0--0-0-

5. Schedule J.' Vour Expenses (Official Form 106J)
Copy your monthly expenses from line 220 of Schedule J .................................................................................................. $ __6_._8_8_5_._0_0_

Official Form 1068um Summary of Your Assets and Liabi|ities and Cerlain Statistical information page 1 of 2

 

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Debtor 1 Ca r|ton Roark Case number (irkmwn)

First Name Middle Name Lasl Name

 

 

m Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or13?

cl No. You have nothing to report on this part of the fomi. Check this box and submit this form to the court with your other schedules

m Yes

7. What kind of debt do you have?

m Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U,S.C. § 101(8). Fill out lines &Qg for statistical purposes. 28 U.S.C. § 159.

m Your debts are not primarily consumer debts. You have nothing to report on this part of the forrn. Check this box and submit
this form to the court with your other schedules.

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Oflicia|
Form 122A-1 Line 11; OR, Form 1228 Line 11; OR, Form 122C-1 Line 14. 3 3 OOO_OO

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

Total claim
From Part 4 on Schedule E/F, copy the following:

Qa. Domestic support obligations (Copy line 6a.) $ 0-00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $___M
9c. Claims for death or personal injury while you were intoxicated (Copy line 6c.) $_________M
9d. Student loans. (Copy line 6f.) $____o-QQ
9e. Obligations arising out of a separation agreement or divorce that you did not report as $ O_OO

priority claims. (Copy line 69.) _`°”_
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + $ 0.00
9g. Total. Add lines 9a through 9f. $ 0.00

 

 

 

Ofticial Form 1068um Summary of Your Assets and Liabi|ities and Certain Statistical lnfonnation page 2 of 2

 

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Fill in this information to identify your case and this filing:

Carlton

Fir$t Name

Debtor 1
Middle Name

Debtor 2

Roark

Lasi Name

 

(Spouse, if filing) Firsi Name Middle Name

United States Bankruptcy Court for the: Southem

Case number

LaSl Name

District of CA
(State)

 

 

 

Official Form 106A/B

 

Schedule AlB: Property

ln each category, separately list and describe items. List an asset only once. |f an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possib|e. lf two married people are filing together, both are equally
responsible for supplying correct information. lf more space is needed, attach a separate sheet to this forrn. On the top of any additional pages,
write your name and case number (if known). Answer every question.

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El check if this is an
amended filing

12/15

m Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an lnterest ln

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

d No. Go to Part 2.
n Yes. Where is the property?

1.1v

 

Street address, if available, or other description

 

 

City State ZlP Code

 

County

lf you own or have more than one, list here:

1.2.

 

Street address if availab|e, or other description

 

 

State ZlP Code

city

 

County

Ofliclal Form 106A/B

What is the property? Check all that app|y.
a Single-family home

a Duplex or mu|ti-unit building

n Condominium or cooperative

|;l Manufactured or mobile home

n Land

n lnvestment property

n Timeshare

a Other

 

Who has an interest in the property? Check one.
n Debtor1 only

a Debtor 2 only

n Debtor1 and Debtor 2 only

l;\ At least one of the debtors and another

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Pmperty.

Current value of the Current value of the
entire property? portion you own?
$ $

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

n Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

What is the property? Check all thatapply.
n Single-family home

cl Duplex or multi-unit building

n Condominium or cooperative

n Manufacfured or mobile home

n Land

n investment property

n Timeshare

n Other

Who has an interest in the property? Check one.
n Debtor1 only

Cl Debtor 2 only

El Debtor1 and Debtor 2 only

n At least one of the debtors and another

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditols Who Have Claims Secured by Pmperfy.

Current value of the Current value of the
entire property? portion you own?

$ $

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

m Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

Schedule AlB: Property

page 1

 

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Debtor 1 CarltOl'l Roark Case number (inmown)
First Name Middle Name Las\ Name
What is the Property? Check all that aPP|Y- Do not deduct secured claims or exemptions Put
- _ - the amount of any secured claims on Schedule D:
1.3, n Single fam"y home Creditors Who Have Claims Secured by Propeny.
Street address if availab|e, or other description n Duplex or multi-unit building
n Condominium or cooperative Current value of the Current value of the
entire ro ? rtion ou own?
El Manufactured or mobile home p perty po y
n Land $ $
m lnvestrrlent property _ _
City State le Code a Timeshare Descrlbe the nature of your ownership
interest (such as fee simple, tenancy by
n Other the entireties or a life estate), if known.
Who has an interest irl the property? Check one.
n Debtor1 only
C°“"ty El Debtor 2 only
n Debtor1 and Debtor 2 only n chec_k if thi§ is C°mmu"ity Property
n At least one of the debtors and another (see mstmd'°ns)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $ 0_00
you have attached for Part 1. Write that number here. ...................................................................................... ")

m Describe Your Vehicles

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? |nclude any vehicles
you own that someone else drives lf you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

n No

d Yes

3.1, Make: Lincoln
Model; Aviator
Year: 2005

Approximate mileage: 90, 180
Other inforrnation:
ln fair condition

 

 

 

 

lf you own or have more than one, describe here:

372_ Make: Lexus
yoder LOGX_
Year: 29_0_7

1 38,000

Approximate mileage:
Other information:
ln fair to average condition

 

 

 

 

Ofticial Folrn 106AlB

Who has an interest in the property? Check one.

Cl Debtor1 only
cl Debtor 2 only
C| Debtor1 and Debtor 2 only
At least one of the debtors and another

d Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

n Debtor1 only

m Debtor 2 only

n Debtor1 and Debtor 2 only

d At least one of the debtors and another

d Check if this is community property (see
instructions)

Schedule AlB: Property

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property

Current value of the Current value of the
entire property? portion you own?

$ 2,308.00 $ 1,154.00

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Creditors Who Have Claims Secured by Pmperty.

Current value of the Current value of the

 

entire property? portion you own?
$ 6,200.00 $ 3,100.00
page 2

 

CaS€ 18-04093-LA7

 

 

 

 

 

Who has an interest in the property? Check one.

n At least one of the debtors and another

n Check if this is community property (see

Who has an interest in the property? Check one.

Debfor 1 Car|ton Roark
First Name Middle Name
3,3_ Make:
Model: n Deber1 Only
Y _ cl Debtor 2 only
ear n Debtor1 and Debtor 2 only
Approximate mileage:
Other information:
instructions)
3_4_ Make:
Model: Cl Debtor1 only
m Debtor 2 only
Year:

Approximate mileage:

Other information:

 

 

 

 

Cl Debtor1 and Debtor 2 only
El At least one of the debtors and another

n Check if this is community property (see
instructions)

Case number (irknown)

 

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Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Credltors Who Have Claims Seculed by Properry.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels snowmobiles, motorcycle accessories

MNO

El Yes

4,1_ Make:
Model:
Year:

Other information:

 

 

 

 

|f you own or have more than one, list here:

4_2, Make:
Model:
Year:

Other information:

 

 

 

 

5. Add the dollar value ot the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here ............................................................................................................................ ')

Oft`lcial Form 106AlB

Who has an interest in the property? Check one,
n Debtor1 only

n Debtor 2 only

El Debtor1 and Debtor 2 only

0 At least one of the debtors and another

El Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

El Debtor1 only

Cl Debtor 2 only

m Debtor1 and Debtor 2 only

m At least one of the debtors and another

El Check if this is community property (see
instructions)

Schedule AlB: Property

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

 

$ 4 254.00

 

 

 

page 3

 

 

 

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Debtor 1 Ca|'lton Roark Case number (lflmown)
Fllsi Name Middle Name usi Name

Describe Your Personal and Household ltems

 

Current value of the
Do you own or have any legal or equitable interest in any of the following items? portion you own?

Do not deduct secured claims
or exemptions
6_ Household goods and furnishings
Examples: Major appliances furniture, linens china, kitchenware

Y;s_ Describe ________ l furniture, small appliances linen, china, kitchenware j $ 21000_00

7_ E|ectronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers printers scanners; music
collections; electronic devices including cell phones cameras media players games

n No __ __ ___ __ __ __ _ __ __ __ __ ._
Yes_ Describe ________ l Two TVs, three leased cell phones, computer, prlnter

$__1.QQM

8. Collectibles of value

Examples: Antiques and ngurines; paintings prints or other artwork; books pictures or other art objects;
d stamp, coin, or baseball card collections other collections memorabi|ia, collectibles
No

a Yes. Describe. ........ l $

9_ Equipment for sports and hobbies

Examples: Sports photographic, exercise, and other hobby equipment; bicycles pool tables golf clubs skis; canoes
and kayaks; carpentry tools; musical instruments

MNo __ __ __ _ _ __ _ l

l

n Yes. Describe ......... l $ i
4 ___i’
10_Firearms
Examples: Pistols, rifles shotguns ammunition, and related equipment
m No __ __ __ _ _ _ __ _ _ __ ________
Q[ Yes_ Describe _________ ijo 9MM plstols, two shotguns one 308 rifle and ammo $ 1 200_00
11_Clothes
Examples: Everyday clothes furs, leather coats designer wear, shoes accessories
cl No _ __ __ _____ __ __ _ _ __ _ __ . __ _______ __ __ _ _ _ _ __ __ __ __
|
d Yes_ Describe ________ J!Everyday clothes shoes blazers and one sult j $ 400_00
12_Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings wedding rings heirloom jewelry, watches gems
gold, silver
§ N° lSilV"ér hei"rioor"i‘l"sa"fid Coln$,'we'dding'"baiids§ Watches (rl`o"'§éii‘ls or“g'oid) ' ' 2 ‘| $ 2 500 00
l l ___'__`

Yes. Describe. .........

13_ Non-faml animals
Examples: Dogs, cats, birds horses

MNo _ _ _ _ __ _ _ __ _________

n Yes. Describe. ......... l $

14. Any other personal and household items you did not already list, including any health aids you did not list

dNo

nYes-Givespecmc § __ __ _ __ _ _ _ __ _ . _ __ $
information ............... i »_

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here ........................................................................................................................................................ -)

$ 7,100.00

 

 

 

Ofticia| Form 106AlB Schedule AlB: Property page 4

 

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Carlton

Fil’S| Name

Debtor 1
Middle Name

m Describe Your Financial Assets

Last Name

Do you own or have any legal or equitable interest in any of the toilowing?

16_ Cash

Roark

Case number (irknown)

portion you own?

Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

E|No

q Yes _____________________________________________________________________________________________________________________________________________________________________

17. Deposits of money

Examples: Checking, savings or other financial accounts; certificates of deposit; shares in credit unions brokerage houses
and other similar institutions if you have multiple accounts with the same institution, list each.

n No
w Yes .....................

17_1_ Checking account
17_2_ Checking account
17.3. Savings account:
17.4. Savings account

17_5. Certificates of deposit:

17_6. Other financial account
17_7_ Other financial account
17_8_ Other nnanciai account:

17.9_ Other financial account:

18. Bonds, mutual funds or publicly traded stocks

Current value of the

 

 

 

 

 

 

 

 

 

Do not deduct secured claims
or exemptions
cash _______________________ $ 50.00
institution name:
Califomia Coast Credit Union $ 200.00
$
Califomia Coast Credit Union $ 1_00
North island Financial Credit Union $ 17.00
$
$
$
$
$

Examples: Bond funds investment accounts with brokerage firms money market accounts

dNo

n Yes __________________ institution or issuer name:

 

 

 

19_ Non-publicly traded stock and interests in incorporated and unincorporated businesses including an interest in

an LLC, partnership, and joint venture

MNo

\;l Yes. Give specinc
information about
them. ........................

Name of entity:

Ofticial Form 106AlB

Schedule AlB:

% of ownership:
%
%
%

Property page 5

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Debtor 1 Car|ton Roark Case number ilrmown)
First Name Middle Name Last Name

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks cashiers’ checks promissory notes and money orders
Non-negotiab/e instruments are those you cannot transfer to someone by signing or delivering them.

MNo

cl Yes. Give specific issuer namel
information about
them_ ______________________ $

 

 

 

21. Retirement or pension accounts
Examples: interests in lRA, ERlSA, Keogh, 401(k), 403(b), thrift savings accounts or other pension or profit-sharing plans

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

n No
Ei Yes. List each
account separately__ Type of account: institution name:
4oi(k) orsimiiarpian; Califomia Credit Union (my share post-tax) $M
Pension plan: $
lRA: $
Retirement account $
Keogh: $
Additionai account $
Additionai account: $
22_ Security deposits and prepayments

Your share of ali unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords prepaid rent, public utilities (eiectric, gas water), telecommunications

companies or others

El No

d Yes ___________________________ institution name or individuai:
E|ectric: $
Gas: $
Heating oi|: $
security deposit on rental unit 16249 Via Embe|eso, San Diego, CA 92128 $ 11675_00
Prepaid rent: $
Te|ephone: $
Water: $
Rented furniture: $
Other: $

23_ Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
q No
a ¥es ___________________________ issuer name and description:
$
$

 

Offlcial Form 106A/B Schedule AlB: Property page 6

 

CB_S€ 18-04093-|_A7 Fi|€d 07/09/18 Ent€l'€d 07/09/18 14101:46 DOC 1 PQ. 17 Oic 55
Debtor 1 CarltOi'i Roark Case number (irknown)

First Name Middle Name Last Name

24_ interests in an education |RA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

d No
cl Yes _____________________________________

institution name and description. Separately file the records of any interests11 U.S_C. § 521 (c):

 

 

 

25_ Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benth

MNo

n Yes. Give specific l _
information about them_ ..l l $

i

26. Patents, copyrights trademarks trade secrets and other intellectual property
Examples: lnternet domain names websites proceeds from royalties and licensing agreements

n No
d Yes. Give specinc 1877loanofficer.com, 1877loanofficer.com, 310loanofficer.com, buyontv.com, 1
information about them_ __ |geta|oan net 4 $_M
27_ Licenses, franchises and other general intangibles
Examples: Building permits exclusive licenses cooperative association holdings liquor licenses professional licenses
m No
n Yes. Give specific l i
information about them. .. l § $
Money or property owed to you? Current value ot the
portion you own?
Do not deduct secured

claims or exemptions

28_ Tax refunds owed to you
m No

cl Yes Give specific information §

_ _ _ § Federal:
about them, including whether l ;
you already filed the returns g State:
and the tax years ...................... i

i Local:

29. Family support
Examples: Past due or lump sum alimony, spousal support, child suppolt, maintenance, divorce settlement property settlement

MNo

n Yes. Give specific information _____________ 1

l

A|imony:
Maintenance:

$
$
Support: $
$
$

Divorce settlement:

Property settlement

30. Other amounts someone owes you
Examples: Unpaid wages disability insurance payments disability benefits sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
d No

cl Yes. Give specific infonnation. ______________ j 1
l 3

Official Form 106AlB Schedule AIB: Property page 7

 

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Debtor 1 Cal'ifOl'i Roark Case number iirknown)

First Name Middle Name Last Name

31. interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowners or renters insurance

ElNo

m Yes. Name the insurance company Company name: Beneficiary: Surrender or refund value;
of each policy and list its value_

 

 

Old Line insurance Co. of America Carlton Roark $ 0.00
Old Line insurance Co. of America Pamela Roark $ 0.00
AAA renters insurance Carlton & Pam Roark $ 0_00

 

32. Any interest in property that is due you from someone who has died

if you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

No
cl Yes. Give specihc infonnation. ............. §

33_ Claims against third parties whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents employment disputes insurance claims or rights to sue

Cl No
g Yes_ Describe each C,aim_ ___________________ §Yes, l' have a wrongful tennination iawsuirag‘a'inst"Norih island i

i_F___i_na_ncial Credit l_J_nion_Qase #___3?-_2018-_000__1_6_1_82-CU:WT_-Q_i_'_t.________ l $__M

34_ Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

UNo

n Yes. Describe each claim ...................... § §

 

 

35_Any financial assets you did not already list
g ¥° G_ _f _ fo t_ i Under Part 4, Sectlon 31. interests in insurance policies They are
es. lve s eci ic in rma ion_ ___________ _ _
p l__not_ assets but l have_AELAC &_ Blue _S_hield_ of _CA insurance __ __ *_M
36_ Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here ___________________________________________________________________________________________ -) $ 17.713-00

 

 

 

m Describe Any Business-Related Property You own or Have an lnterest ln. List any real estate in Part 1.

 

37_ Do you own or have any legal or equitable interest irl any business-related property?
El No. Go to Part 6.
d Yes. Go to line 38.

Current value ot the
portion you own?

Do not deduct secured claims
or exemptions
38. Accounts receivable or commissions you already earned
d No y __
a Yes. Describe ....... §
z i$
39. Otfice equipment, fumishings, and supplies
Examples: Business-related computers soitware, modems printers copiers tax machines rugs telephones desks chairs electronic devices
M~o __ , __ _
i;| Yes_ Describe _______ iAlready included elsewhere in Part 3, Section 7 §$
._ l
l l

Ofticial Form 106AlB Schedule AlB: Property page 8

 

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Debtor1 Car|ton Roark case number <,-m,»
First Name Middle Name Las Name

40. Machinery, fixtures equipment, supplies you use in business and tools of your trade

dNo

m Yes. Describe ....... §

 

 

 

 

 

 

 

 

 

 

 

 

 

 

|$
. l
41. lnventory
n Yes. Describe _______ § B
42. lnterests in partnerships or joint ventures
di No
n Yes~ Describe """" Name of entity: % of ownership:
% s
% $
% $
43. Customer lists mailing lists or other compilations
cl No
mr Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
mo . ,_ , _ ,t -
Lj Yes_ Describe _________ iBroké`r“e'maH Hsts thatl maintain 1
§ $ 0.00
§ _ , _ _ l
44.Any business-related property you did not already list
d No
m Yes. Give specific $
information .........
$
$
$
$
$
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ 0_00
for Part 5. Write that number here .............................. ') ____
Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an lnterest ln.
|f you own or have an interest iri farmland, list it in Part 1.
46. Do you own or have any legal or equitable interest in any fami- or commercial fishing-related property?
No. Go to Part 7.
El Yes. Go to iine 47_
Current value of the
portion you own?
Do not deduct secured claims
or exemptions
47_ Farm animals
Examples: Livestock, poultry, farm-raised fish
d No
n Yes __________________________ ;… _ ._ ,. __ _ _ _ _ _ _ ,_ ,_ . _§
§ \
f § v g § $

Ochia| Form 106AlB Schedule AlB: Property page 9

 

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Debtor 1 CarltOn Roark Case number (ukmwn)

First Name Middle Name Last Name

48. Crops-either growing or harvested

qNo 1~

Cl Yes Give specific§ l
infonnation. ............ § $

49. Farm and fishing equipment, implements machinery, fixtures and tools of trade
No
DYes _________________________ § ., _ , ._§

50. Farm and fishing supplies, chemicals and feed

mNo

uYes ........................... § .
l $

51.Any farm- and commercial fishing-related property you did not already list
No

§;\ Yes. Give specific§
information ............ § $

 

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ 0 00
for Part 6. Write that number here _____ ....... . .............. 9 ____`

 

 

 

 

Describe All Property You 0wn or Have an |nterest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets country club membership

dNo

 

54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................... 9 $_0-00

 

 

 

List the Tota|s of Each Part of this Form

 

55. Part 1: Total real estare, line 2 .................................. .. ...................... -) $ O-OO
56. Part 2: Total vehicles, line 5 $ 4,254.00

57. Part 3: Total personal and household items, line 15 $ 7,100.00

58. Part 4: Total financial assets line 36 $ 17,713-00

59. Part 5: Total business-related property, line 45 $ O'OO

60. Part 6: Total farm- and fishing-related property, line 52 $ O-OO

61. Part 7: Total other property not listed, line 54 + $ 0.0C

62. Total personal property. Add lines 56 through 61. ................... §$ 29,067 00§ 1 Copy personal property total 9 + $ 29,067.00 §

 

es. Tocai of aii property on scheduie AlB. Add iine 55 + iine 62. ....................................................................................... $ 29,067.00

 

 

 

Officia| Form 106AlB Schedule AlB: Property page 10

 

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Fill in this information to identify your case:

Debio, 1 Carlton Roark

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Southem District of CA
(State)

case number El check if this is an

(lf known)

 

amended H|ing

 

Officia| Form 1060
Schedule C: The Property You Claim as Exempt inns

Be as complete and accurate as possib|e_ lf two married people are filing together, both are equally responsible for supplying correct infonnation.

Using the property you listed on Schedule A/B: Property (Off'icial Form\106A/B) as your source, list the property that you claim as exempt lf more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary On the top of any additional pages, write
your name and case number (if known).

 

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternative|y, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory |imit. Some exemptions-such as those for health aids, rights to receive certain benefits and tax-exempt
retirement funds_-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

m ldentify the Property You Claim as Exempt

 

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

M You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
n You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemplion.
Schedule A/B
Brief 2005 L- - CA Code Civ. Proc. §703.140(b)
description: §nco|n Avlat°r $ 1'154'00 §;l $ 11 u-=»-b_ 9 =>¢ziv)i=i)
Line from w 100% of fair market value, up to
Schedule A/B: 3-1 any applicable statutory limit
Brief 2007 L CA Code Civ. Proc. §703.140(b)
description: exus 470 GX $ 3’100'00 n $ 11 U-§-b- § =>LADKJ)
Line from 3_2 a 100% of_fair market value, up to
Schedule A/B_- _' any applicable statutory limit
§;‘§;ription; Househoid furnishing $ 2,000.00 n $ 10§`:;‘_’:_°;";£':'(:;§7°3"4°“’)
Line from m 100% of fair market value, up to
schedule A/B.- 5 any appiicabie statutory iirnit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

ENo

n Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

w No
a Yes

thcia| Form 1060 Schedule C: The Property You Claim as Exempt page 1 of _2_

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Cailton Roark

First Name

m Additionai Page

Brief description of the property and line
on Schedule A/B that lists this property

Debtor 1 Case number (irkrwn)

Middle Name Last Name

Current value of the
portion you own

Amount of the exemption you claim Specific laws that allow exemption

Copy the value from Check only one box for each exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B
~ _ CA Code Civ. Proc. §703.140(b)
:;':';riptiom E|ectronics 1,000.00 El $ 11 U_S_C_ § 522(b)(3)
Line from 7 m 100% of fair market value, up to
Schedule A/B_~ any applicable statutory limit
. _ CA Code Civ. Proc. §703.140(b)
§e§:;nplion- F"ea"“s 1200-00 El $ _11'0737<:.'§'522(5)13;__
Line from w 100% of fair market value, up to
Schedule A/B_- l any applicable statutory limit
_ CA Code Civ. Proc. §703.140(b)
E;§se<:ription' C|othes 400-00 n $ Wz@m_--
Line from 1 1 m 100% of fair market value, up to
Schedule A/B_~ __"* any applicable statutory limit
. CA Code Civ. Proc. §703.140(b)
Brief
description: Jewe§ 2’500'00 g $ 11 U.S.C. § 522(b)(3)
- 1 100% of fair market value, up to
§.§§::ef<;?y|§: A/B,- 2 any applicable statutory limit
. CA Code Civ. Proc. §703.140(b)
:e§;:ripiion- Cash 50-00 Cl $ Tvsr§'szz(s)'(s)__
Line from w 100% of fair market value, up to
Schedule A/B; l any applicable statutory limit
Brief . CA Code Civ. PI’0C. §703.140(b)
description: De os§ts 218-00 n $ 1 1 U.b.t,. g bzz(n)(.z)
Line from 1 m 100% of fair market valuel up to
Schedule A/B_~ _*l~ any applicable statutory limit
Brief CA Code Civ. Proc. §703.140(b)
description: 401'§( 15'750-00 9 $ 11 u.b.b. s bzzin)i.ii
Line from 21 m 100% of_fair market value, up to
Schedule A/B_~ any applicable statutory limit
Brief _ _ CA Code Civ. Proc. §703.140(b)
description: Hm. Securi de osit 1,675.00 E| $ 11 U_S_C_ §522(1,)(3)
Line from m 100% of fair market value, up to
Schedule A/B; L any applicable statutory limit
. _ CA Code Civ. Proc. 703.140(b)
§e§:;ripiion D°ma'“ names 20-00 Cl $ ‘1'1'075?<:."§'522157(3§)__
Line from 26 m 100% of fair market value, up to
Schedule A/B_~ "_ any applicable statutory limit
Brief
description: n $
Line from m 100% of fair market value, up to
Schedule A/B_- any applicable statutory limit
Brief
description: n $
Line from m 100% of fair market value, up to
Schedule A/B_- -_ any applicable statutory limit
Brief
description: §;' $
Line from n 100% of fair market value, up to
Schedule A/B; _ any applicable statutory limit
Official Form 1060 Schedule C: The Property You Claim as Exempt page L of _Z

 

 

Case 18-04093-LA7 Fi§ed 07/09/18 Entel’ed 07/09/18 14201:46

Fill in this information to identify your case:

Carlton

Debtor 1

Roark

 

First Name

Debtor 2

Middle Name

LaS\ Name

 

 

(Spouse, if filing) First Name

United States Bankruptcy Court for the: SOUthem

Case number

Middle Name

LBSt Name

District of CA
(State)

 

( lf known)

 

Official Form 106D

 

Schedule D: Creditors Who Have Claims Secured by Property

DOC 1 Pg. 23 of 55

Cl Check if this is an
amended hling

12/15

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
infonnation. |f more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
n No. Check this box and submit this folrn to the court with your other schedules. You have nothing else to report on this form.

Yes. Fill in all of the information below.

met All secured claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

j Column A Column B Column C
§ 2. List all secured claims. lf a creditor has more than one secured claim, list the creditor separately Amount of claim value of wlm| unsecured
l for each claim. lf more than one creditor has a particular claim, list the other creditors in Part 2. D° not deduct me that supports this portion
§ As much as possible, list the claims in alphabetical order according to the creditol’s name. value of couatera,` claim 11 any
1- Describe the property that secures the claim: $ 3.909.37 $ 6,200.00 s
C'e"“°"$"a'"e _ _ _ Loan is secured by a 2007 Lexus 470 GX
NN°rth §S§and F'n' Cred't Um°n vehic|e. l want to reaffirm this debt
l umber Street
5898 Copley Drive As of the date you file, the claim is: Check all that apply_
m Contingent
San Diego, CA 92111 d unliquidated
City State ZlP Code n Disputed
Who owes the debt? Check One- Nature of lien. Check all that apply_
n Debfof 1 Only An agreement you made (such as mortgage or secured
n Debtor 2 only car loan)
§ Debtor1 and Debtor 2 only §;l Statutory lien (such as tax lien, mechanic's lien)
At least one of the debtors and another §-_-l Judgment lien from a §aWSu§'f
n Other (including a right to offset)
d Check if this claim relates to a
community debt
estates i_tcu:_s.ssr£_?,£?_.? /2_9.1§._”__..magistrates of account number 2_ 41 lt 1
22 Describe the property that secures the claim: $ $ $
Creditors Name
§ Number Street
As of the date you file, the claim is: Check all that apply.
§;l Contingent
El unliquidated
City State ZlP Code m Disputed
§ Who owes the debt? Check one. Nature of |ien. Check all that apply.
a Debe\’ 1 Only n An agreement you made (such as mortgage or secured
a Debtor 2 only car loan)
E| Debtor 1 and Debtor 2 only §;l Statutory lien (such as tax lien, mechanic’s lien)
n At least one of the debtors and another cl Judgment lien from a lawsuit
n Other (including a right to offset)
El Check if this claim relates to a
community debt
Date debt was incurred Last 4 dlgits of account number __ _ ___ _
Add the dollar value of your entries in Column A on this page. Write that number here: §§ 3 909-371
Oflicial Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of _/_

 

Case 18-04093-LA7 Fi§ed 07/09/18 Entel’ed 07/09/18 14201:46 DOC 1

Fill in this information to identify your case:

Debtor 1 Car"~on

Roark

 

First Name Middle Name

Debtor 2

Last Name

 

(Spouse, if filing) First Name Middle Name

United States Bankruptcy Court for the: Southem

Case number

 

Last Name

District of CA

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(Sfafe) El Check if this is an

 

(lf known)

 

Offioial Form 106E/F

 

Schedule ElF: Creditors Who Have Unsecured Claims

amended filing

12/15

 

Be as complete and accurate as possible. Use Part 1 for creditors with PR|ORlTY claims and Part 2 for creditors with NONPR|OR|TY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106AlB) and on Schedule G: Executory Contlacts and Unexpired Leases (Official Form 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. |f more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

mist All of Your PR|ORlTY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?

m No. Go to Part 2.
n Yes.

2. List all of your priority unsecured claims. lf a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is_ lf a claim has both priority and nonpriority amounts list that claim here and show both priority and
nonpriority amounts As much as possible, list the claims in alphabetical order according to the creditor’s name. lf you have more than two priority
unsecured claims f'lll out the Continuation Page of Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

 

 

 

 

 

 

Total claim Priorlty Nonpiiority
amount amount
2.1

N/A Last 4 digits of account number __ _ __ _ $ $
Priority Creditol‘s Name

When was the debt incurred?
Number Street

As of the date you file, the claim is: Check all that apply.
city state ziP code L_" Contingent

El unliquidated
Who incurred the debt? Check one, n D.

isputed
n Debtor1 only
§;l Debtor 2 only Type of PR|ORlTY unsecured claim:
g Debt°r 1 and Debt°r 2 only §;l Domestic support obligations
At §east one of the debtors and another m Taxes and certain other debts you owe the government
n check 'f th's cla'm '5 for a c°mmumty debt cl Claims for death or personal injury while you were
ls the claim subject to offset? intoxicated
El No n Other. Specify
§;l Yes l §
§2'2 § N/A Last-1 digits of account number _ ___ _ ___ $ $

Priority Credith Name

 

Number Street

 

 

City State ZlP Code

Who incurred the debt? Check one_

El Debior 1 only

§;l Debtor 2 only

n Debtor 1 and Debtor 2 only

m At least one of the debtors and another

El check if this claim is for a community debt

ls the claim subject to offset?

Cl No
n Yes

Off'lcial Form 106E/F

Schedule EIF: Creditors Who Have Unsecured Claims

 

When was the debt incurred?

As of the date you fi|e, the claim is: Check all that apply.
§;l Contingent

Cl unliquidated

El Disputed

Type of PR|ORlTY unsecured claim:
§;l Domestic support obligations
cl Taxes and certain other debts you owe the government

n Claims for death or personal injury while you were
intoxicated

El Other. Specify

 

page 1 of 1

 

 

Case 18- 04093- LA7 Fi§ed 07/09/18z Entel’ed 07/09/18 14. 01. 46 DOC 1 PQ. 25 Of 55

Carlton

First Name

Debtor 1

Middle Name Last Name

R§(Oaf Case number (irlmown)

Your PR|ORlTY Unsecured Claims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so foith. Total claim Priority Nonprloiity
amount amount
|:§ N/A Last4 digits of account number _ _ _ _ $ $ 5
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
El Contingent
city state ziP code Cl unliquidated
§:l Disputed
Who incurred the debt? Check one.
§;l Debtor1 only Type of PR|ORlTY unsecured claim:
g :e:§or z on§yD mo l n Domestic support obligations
e mr and e r 2 On y §:l Taxes and certain other debts you owe the government
n At least one of the debtors and another n . _ _ .
Claims for death or personal injury while you were
Cl Check if this claim is for a community debt 'nt°X'°ated
El other specify
ls the claim subject to offset?
cl No
n Yes
Last 4 digits of account number _ _ _ $ 5 $
Priority Creditofs Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
a Contingent
city state zip code El unliquidated
n Disputed
Who incurred the debt? Check one,
El Debtor 1 only Type of PR|ORlTY unsecured claim:
g :e::°r z ong/0 m 2 l §;l Domestic support obligations
e or an e or on y Cl Taxes and certain other debts you owe the government
cl At least one of the debtors and another _ _ _ .
n Claims for death or personal injury while you were
§;l Check if this claim is for a community debt '"t°X'Cated
§:l Other, Specify
ls the claim subject to offset?
n No
§:l Yes
N/A Last 4 digits of account number _ __ _ _ $ 5 $
Priority Creditor’s Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that applyv
cl Contingent
city state ziP code El Unliquidated
El Disputed

Who incurred the debt? Check one_

n Debtor1 only

El Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

§:l Check if this claim is for a community debt

ls the claim subject to offset?

Cl No
cl Yes

Offlcial Form 106E/F

Type of PRlORlTY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government
Claims for death or personal injury while you were

 

intoxicated
Other. Specify

U UEJC§

 

Schedule ElF: Creditors Who Have Unsecured Claims

page 2 Of _6_

CB_S€ 18-04093-LA7 Fi|€d 07/09/18 En'[€l'€d 07/09/18 14101146 DOC 1 PQ. 26 Of 55
Debtor 1 Cal'lfOrl ROal'K Case number tirimcwn)

First Name Middle Name Last Name

List All of Your NCNPR|CR|TY Unsecured Claims

 

3. Do any creditors have nonpriority unsecured claims against you?

n No. You have nothing to report in this part. Submit this forth to the court with your other schedules

w Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. lf a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. |f more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpn'on'ty unsecqu

claims till out the Continuation Page of Part 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Total claim
Califomia Coast Credit Union Last-1 digits of account number §_ _2_ _4_ _Q_ 2 000 00
Nonpn'cn'ty crediiofs Name $____'_'__
9201 Spectrum Centei. Bivd #300 When was the debt incurred? 10/05/2013
Number Street
San Diego, CA 92123
city state zip Code As of the date you fi|e, the claim is: Check all that apply_
El Contingent
Who incurred the debt? Check One. d Un|iquidated
Cl Debtor 1 only Cl Disputed
cl Debtor 2 only
n Debtor1 and Debtor 2 only Type of NONPR|OR|TY unsecured claim:
At least one of the debtors and another cl Siudeni ioans
w check if this ciaii,n is for a community debt m Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims
ls the claim Subie¢t to °"Sef'? m Debts to pension or profit-sharing plans, and other similar debts
d No other_ specify Credit card - will reaftirm
n Yes
E-Z l San Diego County Credit Union Last-1 digits of account number MA____ ___ __ $ 857,713-31
Nonprion'ty creditors Name When was the debt incurred? 12/16/201 6
6545 Sequence Drive
Number Street
San Diego CA 92121 As of the date you tile, the claim is: Check all that apply,
1
City State ZlP Code n Contingent
who incurred the debt? check one El unliquidated
q Debtor1 only Disputed
cl Debtor 2 only _
n Debtor 1 and Debtor 2 only Type of NONPR|OR|TY unsecured claim:
El At least one of the debtors and another m Student loans
d _ _ _ cl Ob|igations arising out of a separation agreement or divorce
Check if this claim is for a community debt ihai you did noi iepoii as prioi.iiY daims
is the claim subject to offset? n Debts to pension or profit-sharing plans_ and other similar debts
q No d omer. specify Judqment (see cover letter)
n Yes
4.3
N/A Last 4 digits of account number _ __ _ _
Nonpriority Creditofs Name $
When was the debt incurred?
Number Street
City State ZlP Code As of the date you |i|e, the claim is: Check all that apply.

Who incurred the debt? Check one_

EI Debtor 1 only

El Debtor 2 only

a Debtor1 and Debtor 2 only

El At least one of the debtors and another

a Check if this claim is for a community debt

ls the claim subject to offset?
El No
n Yes

Off`lcia| Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

n Contingent
Cl unliquidated
cl Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims

El Debts to pension or prolit-sharing plans, and other similar debts

L`.l other. specify

 

page _30f__5

 

Debtor 1

 

First Name Middle Name Last Name

Case Ji8-O4093-LA7 Filed 07/09/18 Eil(ttered 07/09/18 14101:46 DOC 1 PQ. 27 Of 55
Carton Roar

Case number tirimown)

 

Your NoNPRl°RlTY unsecured claims - Continuation Fage

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

m Debtor1 only

L_.l Debtor 2 only

cl Debtor1 and Debtor 2 only

n At least one of the debtors and another

m Check if this claim is for a community debt

ls the claim subject to offset?

cl No
n Yes

Offlcial Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth. Total claim
N/A Last 4 digits of account number _ _ ___ __ $
Nonpriority Creditoi’s Name
When was the debt incurred?
t t
Number S rea As of the date you ti|e, the claim is: Check all that apply.
City State ZlP Code n Contingent
Cl Unliquidated
Who incurred the debt? Check one, m Disputed
Cl Debtor 1 only
Cl Debtor 2 only Type of NONPR|OR|TY unsecured claim:
cl Debtor1 and Debtor2 only cl Student ioans
n At least °"e °f the debt°rs and another n Obligations arising out of a separation agreement or divorce that
m Check if this claim is for a community debt you d'd not report as monty d?'ms _ _
n Debts to pension or protit-sharing plans, and other similar debts
ls the claim subject to offset? C| Othei_ Specify
l:l No
Cl Yes
N/A Last 4 digits of account number _ __ ___ __ 3
Nonpriority Creditoi’s Name
When was the debt incurred?
N ber St t
""` 'ee Ae ot the date you tile, the claim ie: check ali that appiy.
city state ziP code El contingent
_ Cl unliquidated
Who incurred the debt? Check one. m Disputed
Cl Debtor 1 only
El Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor2 only m Student loans
At least one of the debtors and another n Ob|igations arising out of a separation agreement or divorce that
El check if this claim is for a community debt y°“ d'd "°t 'eF°" as p"°"ty °'?""s _ _
cl Debts to pension or pront-shanng plans, and other similar debts
ls the claim subject to offset? I;| owen Specify
El No
l;l Yes
|__I __ t
Last 4 digits of account number __ _ _ _
N/A
Nonpriority Creditor‘s Name
When was the debt incurred?
Number Street . .
As of the date you file, the claim is: Check all that apply.
City State ZlP Code cl Contingent

El unliquidated
El Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Ob|igations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or protit~sharing plans, and other similar debts

El other specify

page Aof _6_

 

Case 18-04093-LA7 Filed 07/09/18 Entered 07/09/18 14201246 DOC 1 PQ. 28 Of 55

Debtor 1 CarltOn ROa FK Case number (irknown)
First Name Middle Name Last Name

List Others to Be Notified About a Debt That You Already Listed

 

5. Use this page only if you have others to be notihed about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
examp|e, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in parts 1 or 2, list the
additional creditors heie. |f you do not have additional persons to be notified for any debts in Par\s 1 or 2, do not fill out or submit this page.

 

 

N/A On which entry in Part 1 or Part 2 did you list the original creditor?
Name

Line of (Check one): U Part 1: Creditors with Priority Unsecured Claims
Number 3"9°' Cl Part 2: Creditors with Nonpriority Unsecured Claims

 

Last 4 digits of account number

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

city state zlP code
N/A On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Cl Part 1: Creditors with Priority Unsecured Claims
Numbe' S"ee' Cl Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number _ _ _ _
City State ZlP Code
N/A On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): EI Part 1: Creditors with Priority Unsecured Claims
Number S"e°f Cl Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number_ _ _ _
City State ZlP Code
N/A On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Cl Part 1: Creditors with Priority Unsecured Claims
Number Street n Part 2: Creditors with Nonpn`ority Unsecured
Claims
_ Last 4 digits of account number_ _ _ _
City State ZlP Code
N/A On which entry in Part 1 or Part 2 did you list die original creditor?
Name
Line of (Check one): Cl Part 1: Creditors with Priority Unsecqu Claims
Number S"°e' Cl Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number _ _ _ _
city state ziP code h ,__
N/A On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Cl Part 1: Creditors with Pn`ority Unsecured Claims
Number S"ee’ El Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number_ _ _ _
city state zlP code
E|/A on which entry in Part 1 or Part 2 did you list the original creditor?
ame
Line of (Check one): n Part 1: Creditors with Priority Unsecured Claims
Number Street . . . .
U Part 2: Creditors with Nonpriority Unsecured
Claims
City State ZlP Code Last 4 digits of account number _ _ __ _

Offlcial Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims page _5_ of _6_

 

 

 

CaCS;e|§|_8- -O-4093 LA7 Filed 07/09/18 Entel’ed 07/09/18 142 012 46 DOC l PQ. 29 Of 55
ar on Rkoar

First Name Middle Name Last Name

Debtor 1

m Add the Amounts for Each Type of Unsecured Claim

Case number (irkncwn)

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claims
from Part 1

Total claims
from Part 2

Omcial Form 106E/F

6a.

6c.

6d.

6e.

6f.

6h.

6i.

Domestic support obligations

. Taxes and certain other debts you owe the

government

Claims for death or personal injury while you were
intoxicated

Other. Add all other priority unsecured claims.
Write that amount here.

Total. Add lines 6a through 6d.

Student loans

. Ob|igations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or protit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

6]. Total. Add lines 6f through 6i.

6a.

6b.

6c.

6d.

6e.

6f.

69.

6h.

6i.

6i.

 

 

 

 

 

 

Total Claim
$ 0.00
$ 0.00
5 0.00
+ $ 0.00
$ 0.00
Total claim
$ 0.00
$ 0.00
$ 0.00
+ $ 859,7‘|3.31
$ 859,713.31

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

page _6_0f_6

Case 18-04093-LA7 Filed 07/09/18 Entered 07/09/18 14201246 DOC 1 PQ. 30 Of 55

Fill in this information to identify your case:

Debtor Car|ton Roark

First Name Middle Name Last Name

Debtor 2
(Spouse lf H|ing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Southem District of CA
(State)

c
ase number Cl Check if this is an

 

(|f known)

 

amended filing

 

Offlcial Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12115

Be as complete and accurate as possib|e. |f two married people are filing together, both are equally responsible for supplying correct
infonnation. lf more space is needed, copy the additional page, t'ill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

1. Do you have any executory contracts or unexpired leases?
m No. Check this box and file this form with the court with your other schedules You have nothing else to report on this form.
m Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B.' Property (Ofl`lcial Form 106A/B),

2. List separately each person or company with whom you have the contract or lease, Then state what each contract or lease is for (for
examp|e, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Person or company with whom you have the contract or lease State what the contract or lease is for
2.1 - . .
Soon Seng Lau and HOngll Sun l rent a residence from Soon Lau and Hong|l Sun for
N;'§e$z E t k W my family at 16249 Via Embe|eso, San Diego, CA
n re en ay 92128. V\hl| reaffirm my obligation to lease.
Number Street
San Diego, CA 92129
City State ziP Code
2.2
Name
Number Street
City State ZlP Code
2.3
Name
Number Street
City State Z|P Code
2.4
Name
Number Street
City State ZlP Code
2.5
Name
Number Street
City State ZlP Code

Offlcial Form 1066 Schedule G: Executory Contracts and Unexpired Leases page 1 of __

 

 

 

Case 18-04093-LA7 Filed 07/09/18 Entel’ed 07/09/18 14201246 DOC 1 PQ. 31 Of 55

Fill in this information to identify your case:

 

 

 

 

 

Debtor 1 Carlton Roark

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: SOUthem District of CA

(State)

Case number
‘"“"°‘”") Cl check if this is an

 

amended filing

Offlcial Form 106H
Schedule H: Your Codebtors 12115

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible, lf two married
people are filing together, both are equally responsible for supplying correct infonnation. lf more space is needed, copy die Additional Page, fill
it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. 0n the top of any Additional Pages, write your
name and case number (if known). Answer every question.

 

1. Do you have any codebtors? (|f you are filing a joint case, do not list either spouse as a codebtor_)

n No
g Yes

2. Within the last 8 yeais, have you lived in a community property state or territory? (Community property states and territories
include Arizona, California, |daho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

El No. Go to line 3.
Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
n No

d Yes. ln which community state or territory did you live? Califomia _ Fill in the name and current address of that person.

Pamela L. Johnson-Roark

Name of your spouse, former spouse, or legal equivalent

 

16249 Via Embe|eso
Number Street

San Dieg), CA 92128
city state zlP code

 

3. |n Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106ElF), or Schedule G (Official Form 1066). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 1.' Your codebtor Column 2: The creditor to whom you owe the debt
Check all schedules that apply:
3'1 Pamela L. Johnson-Roark ¢ Schedule D line 2
Name ' __
16249 via Embeleso g Schedule E/Ft ""e _4
Number S"eet Schedule G, line 2
San Diego, CA 92128
city state zlP code
3.2
|;l Schedule D, line
Name
l:l Schedule E/F, line _
Number S”ee‘ l:l Schedule G, line
city state zlP code
3.3
El schedule D, line _
Name
CI Schedule E/F, line
Number S“ee‘ Cl Schedule G, line
city state zlP code

 

Offlcial Form 106H Schedule H: Your Codebtors page 1 of _1

Case 18-04093-LA7 Filed 07/09/18 Entel’ed 07/09/18 14201246 DOC 1 PQ. 32 Of 55

Fill in this information to identify your case:

Debtor1 Carlton Roark
First Name Middle Name Last Name

Debtor 2
(Spouse, if h|ing) First Name Middle Name Last Name

 

united states Bankruptcy court for the: SOUthem District of CA
(State)

Case number Check if this iSZ

(lf known)

 

El An amended filing

Cl A supplement showing postpetition chapter 13
income as of the following date:

Offlcial FOrm 1061 m

Schedule l: Your lncome wis
Be as complete and accurate as possible. |f two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct infonnation. lf you are married and not filing jointly, and your spouse is living with you, include information about your spouse.

|f you are separated and your spouse is not filing with you, do not include information about your spouse. lf more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

m Describe Employment

 

 

1. Fill in your employment

 

 

 

 

 

information Debtor 1 Debtor 2 or non-filing spouse
lf you have more than one job,
attach a separate page with
information about additional Emp'°yme"t sums § Emp'°yed L_'l Emp'°Yed
employers Not employed w Not employed
include part-time, seasonal, or
self-em lo ed work. _
p y Occupau°n Commercial Mortg§ge Broker Homemaker
Occupation may include student
or homemaker, if it applies.
Employer's name Self-€mployed
E"‘P'°¥°'"S address 11251 Rancho Carmel Dr.
Number Street Number Street
#503203

 

 

San Diego, CA 92150
city state zlP code city state ziP code

How long employed there? 6 months

m Give Details About Monthly lncome

Estimate monthly income as of the date you file this form. |f you have nothing to report for any line, write $0 in the space. |nclude your non-tiling
spouse unless you are separated.

|f you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. lf you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

2. List monthly gross wages, salary, and commissions (before all payroll

 

deductions). lf not paid monthly, calculate what the monthly wage would be. 2. $ 3 000_00 $ ()_O()
3. Estimate and list monthly overtime pay. 3. + $ 0.00 + $ O-OO
4. Calculate gross income. Add line 2 + line 3. 4. $ 3,000.00 $ 0.00

 

 

 

 

 

Ofl'icial Form 106| Schedule l: Your lncome page 1

 

Case 18-04093-LA7 Filed 07/09/18 Entel’ed 07/09/18 14201246 DOC 1 PQ. 33 Of 55

 

 

 

Debtor 1 Car|ton Roark Case number (inmown)
First Name Middle Name Last Name
For Debtor 1 For Debtor 2 or
non-filing sgguse
Copy line 4 here ............................................................................................ ') 4_ $ 3iOOO-OO $ 0.00

5. List all payroll deductions:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5a. Tax, Medicare, and Social Security deductions 5a. $ 500-00 $
5b. Mandatory contributions for retirement plans 5b. $ 0-00 $
Sc. Voluntary contributions for retirement plans 5c. $ 0-00 $
5d. Required repayments of retirement fund loans 5d. $ 0~00 $
` 5e. insurance 5e. $ 0'00 $
§ 5f. Domestic support obligations 5f. $ 0'00 $
59. Union dues 59_ $ 0'00 $
5h. Other deductions. Specify: H°me Omce expenses 5h. + $ 200-00 + $
s. Add the payroll deductions Add lines 5a + 5b + so + sd + 5e +sf + 59 + 5h_ 6. $ 700-00 $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 2,300-00 $ 0'00
8. List all other income regularly received:
Sa. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ O_O() $ 0_0()
monthly net income. 8a.
8h. lnterest and dividends ab_ $ 0.00 $ 0.00
8c. Family support payments that you, a non-iiling spouse, or a dependent
regularly receive
|nclude alimony, spousal support, child support, maintenance, divorce $ 0_00 $ 0_00
settlement, and property settlement Sc.
8d. Unemployment compensation 8d. $ 0'00 $ 0-00
8a. social security ae. $ 0.00 $ 0-00
8f. Other government assistance that you regularly receive
|nclude cash assistance and the value (if known) of any non-cash assistance
that you reoeive, such as food stamps (beneflts under the Supplementa|
Nutrition Assistance Program) or housing subsidies.
Specify: 8f_ $ 0.00 $ 0.00
89. Pension or retirement income 89. $ 0.00 $ 0-00
8h. Other monthly income. Specify: 8h. + $ + $
9. Add all other income. Add lines 8a + 8b + ac + ad + se + at +ag + 8h. 9. $ 0.00 ` $ 0.00
10. Calculate monthly income. Add line 7 + line 9. _
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. $-_z'M + $ o'ooj_ F 2’300'00

 

 

 

 

 

11. State all other regular contributions to the expenses that you list in Schedule J.

|nclude contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

 

 

 

 

 

Specify: 11_ + $ 0.00

12. Add the amount in the last column of line 10 to the amount in line 1 1. The result is the combined monthly income. 2 300 00

Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical /nformation, if it applies 12. $_‘_'
Combined

monthly income
13. Do you expect an increase or decrease within the year after you tile this fon'n?

cl No.
dYes. Explain; Not sure, l'm on commission

 

 

 

 

Offlcial Form 106| Schedule |: Your lncome page 2

 

 

Case 18-04093-LA7 Filed 07/09/18 Entel’ed 07/09/18 14201:46 DOC 1 PQ. 34 Of 55

Fill in this information to identify your case:

Carlton Roark
D 1 ` ` ' '
ebtor Firsi Name Middle Name Last Name Check lf thlS IS.

 

 

Debtor 2 El An amended filing

(Spouse, if i|ing) First Name Middle Name Last Name
Cl A supplement showing postpetition chapter 13
expenses as of the following date:

United States Bankruptcy Court for the: Southem District of CA
(State)

Case number MM l DD/ YYYY
(lfknown)

 

 

 

Offlcial Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
infonnation. |f more space is needed, atmoh another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

m Describe Your Household

1. ls this a joint case?

 

 

E No. Go to line 2.
n Yes. Does Debtor 2 live in a separate household?

a No
n Yes. Debtor 2 must tile Ofticial Form 106J-2, Expenses for Separate Household of Debtor 2.

 

2. Do you have dependenis? cl No

 

 

 

 

 

 

Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and a Yes_ Fiii out this information foi- Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent .......................... m
N
Do not state the dependents’ \Mfe 56 m 0
names. yes
Daughter 20 El No
m Yes
n No
a Yes
n No
n Yes
Cl No
El Yes
3. Do your expenses include n No

expenses of people other than
yourself and your dependents? m Yes

m Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is tiled. lf this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

 

|nclude expenses paid for with non-cash government assistance if you know the value of

 

such assistance and have included it on Schedule I: Your lncome (thcial Form 106|.) Y°"" expenses
4. The rental or home ownership expenses for your residence. |nclude first mortgage payments and 2 500_00
any rent for the ground or lot. 4. $ '

lf not included in line 4:

4a. Real estate taxes 4a. $ 0.00
4b, Property, homeowner’s, or renter's insurance 4b. $ 25-00
4c. Home maintenance, repair, and upkeep expenses 4c. $ 50'00
4d. Homeowner's association or condominium dues 4d_ $ 0-00

Oflicial Forln 106J Schedule J: Your Expenses page 1

 

 

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Debtor 1 Carlton Roark

10.

11.

12.

13.

14.

15.

16.

17.

18.

19.

20.

 

Fir§ Name Middle Name Last Name

Additional mortgage payments for your residence, such as home equity loans
Utilities:

6a. Electricity, heat, natural gas

6h. Water, sewer, garbage collection

6e. Telephone, cell phone, |nternet, satellite, and cable services

6d. Other. Specify:

 

Food and housekeeping supplies
Childcare and children’s education costs
Clothing, laundry, and dry cleaning
Personal care products and services
Medical and dental expenses

Transportation. |nclude gas, maintenance, bus or train fare.
Do not include car payments

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitab|e contributions and religious donations

|nsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b_ Hea|th insurance
15c. Vehicle insurance

15d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

lnstallment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2
17c. Other. Specify:

 

17d. Other. Specify:

 

Case number (irknown)

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule I, Your lncome (Official Form 106|).

Other payments you make to support others who do not live with you.
Specify:

 

other real property expenses not included in lines 4 or 5 of this form or on Schedule l: Your lncome.

20a. Mortgages on other property

20b. Real estate taxes

zoc_ Property, homeowners, or renters insurance
20d Maintenance, repair, and upkeep expenses

20e_ Homeowner’s association or condominium dues

Ofiicial Form 106J Schedule J: Your Expenses

6a.

6h.

60.

6d.

10.

11.

12.

13.

14.

153.
15b.
156.

15d.

16.

17a.
17b.
17c.

17d.

18,

19.

203.

20b.

200.

20d .

209.

 

Your expenses
$__MQ
$ 210.00
$ 115.00
$ 400.00
$

$ 450.00
$
$ 250.00
$ 150.00
$ 100.00
3 150.00
25.00
0.00
$ 125.00
$ 1,950.00
$ 125.00
$
$
$ 260.00
$
$
$
$
$
$
$
$
$
$

page 2

 

Case 18-04093-LA7 Filed 07/09/18 Entel’ed 07/09/18 14201:46 DOC 1 PQ. 36 Of 55

Carlton Roark

First Name Middle Name Last Name

Debtor 1

 

21. Other. Specify:

 

22. Calculate your monthly expenses.
22a. Add lines 4 through 21.
22b. Copy line 22 (month|y expenses for Debtor 2), if any, from thcial Form 106J-2

220. Add line 22a and 22bt The result is your monthly expenses.

23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule I.

23b. Copy your monthly expenses from line 220 above,

23c. Subtract your monthly expenses from your monthly income.
The result is your montth net income.

Case number (irknown)

21.

223.

22bA

226.

23a.

23b.

23c.

24. Do you expect an increase or decrease in your expenses within the year after you flle this fonn?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

n No.
m Yes. Explain here:

 

 

 

+$
s 6 885.00
$ 0.00
$ 6,885.00

 

2 300.00

$_.____

6,885.00

 

 

$ -4 585.00

 

 

l'm just hoping l am successful at the self-employed commission only job l have been forced to take

OfEcial Form 106J Schedule J: Your Expenses

page 3

 

 

 

Case 18-04093-LA7 Filed 07/09/18 Entel’ed 07/09/18 14201:46 DOC 1 PQ. 37 Of 55

Fill in this information to identify your case:

Debtor 1 Carlton Roark

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Narne Middle Name Last Name

 

United States Bankruptcy Court for the: SOUthel`n District of CA
(State)

Case number
(lf known)

 

El check if this is an
amended E|ing

 

 

Offlcial Form 106Dec
Declaration About an lndividual Debtor’s Schedules wis

lf two married people are filing together, both are equally responsible for supplying correct infonnation.

 

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

mNo

n Yes. Name of person . Attach Bankmptcy Petition Preparefs Notice, Declaration, and
Signature (Oliicial Form 1 19).

Under penalty of perjury, l declare that l have read the summary and schedules filed with this declaration and
that they are true and correct.

came

 

 

Signature of Debtor 1 Signature of Debtor 2
Date QZ[QQ[ZQ:]§ Date
MM/DD/YYYY MM/DD/YY¥Y

Ochial Form 106Dec Declaration About an lndividual Debtor’s Schedules

Case 18-04093-LA7 Filed 07/09/18 Entel’ed 07/09/18 14201:46 DOC 1 PQ. 38 Of 55

Fill in this information to identify your case:

Debtor 1 Carlton Roark

First Name Middle Name LBSt Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankmptcy Court for the: Southern District Of Califomia

 

 

 

(fi?:§o'i`,`§§"°e' El check if this is an
amended filing
Offlcial Form 107
Statement of Financial Affairs for lndividuals Filing for Bankruptcy 04/16

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
infonnation. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answer every question.

m Give Details About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?

m Married
l:l Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

MNo

n Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1: Dates Debtor 1 Debtor 2:
lived there

d Same as Debtor 1

No where other than present addr.

 

Dates Debtor 2
lived there

d Same as Debtor1

From

 

 

TO

 

 

 

 

State ZlP Code
a Same as Debtor 1

From

 

 

TO

 

 

 

From

Number Street Number Street
To

No where other than present addr.

City State ZlP Code City

a Same as Debtor 1

From

Number Street Number Street
To

City State ZlP Code City

State ZlP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, ldaho, Louisiana, Nevada, New Mexioo, Puelto Rico, Texas, Washington, and Wlsconsin_)

l:l No
m Yes. Make sure you fill out Schedule H.' Your Codebtors (Ofncia| Form 106H).

Explain the Souroes of Your lncome

Official Form 107

Statement of Financial Affairs for lndividuals Filing for Bankruptcy page 1

 

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Carlton Roark

First Name

Debtor 1 Case number (irlinom)

 

Middle Name Last Name

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities
lf you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

cl No
q Yes. Fill in the details

Check all that apply (before deductions and Check all that apply. (before deductions and
exclusions) exclusions)
From January 1 of current year until g :Voages' °‘t’immissi°"s‘ $ 10,585.00 cl :Vo:g:;‘szm:“ssi°"s' $ 0.00
the date you filed for bankruptcy: nuses’ ps _' _ u ' p _'

n Operating a business m Operating a business
. m Wages, commissions, n Wages, commissions

F°' 'as‘ °a'°"‘*a' ’°a'~ bonuses tips $ 19,928.00 bonuses tips $ o.oo
(January 1 to DeCembel' 31, _____) n Operating a business cl Operating a business
F°r the calendar year before than m Wages, co_mmissions, [;l Wages, commissions

bonuses, tips $ 82,862_00 bonuses, tips $ 0_00

(January 1 to Deoember 31 , 2016 )
vYYv

Debtor1

Sources of income

n Operating a business

Gross income

Debtor2

Sources of income

n Operating a business

Gross income

5. Did you receive any other income during this year or the two previous calendar years?
|nclude income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from |awsuits; royalties; and
gambling and lottery winnings. lf you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

l;l No
U Yes. Fill in the details

Debtor1 Debtor2

Sourlces of income Gross income from Sources of income Gross income from

 

 

 

 

Desoiioe boiow_ each source De$oiioe below each source
(before deductions and (before deductions and
exclusions) exclusions)
From January 1 of current year until sz-EDD___ $___M'_QQ_ -NlA-_--_ $ 31150~00
the date you filed for bankruptcy: unemp_ig¥men_t__ $
F°r lastcalendaryean 2017 EDD $ 13,500.00 N/A 13,500.00
(January 1 to Deoember 31, ) Unemployment $
YYYY
$
For the calendar year before that: 2016 EDD $ 6,750-00 N/A $ 6,750.00
(January 1 to Deoember 31, ) UnemplOyment $
YvYY ____

 

 

 

Offlcial Form 107 Statement of Financial Affairs for lndividuals Filing for Bankruptcy

page 2

 

 

Case 18-04093-LA7 Filed 07/09/18 Entered 07/09/18 14201246 DOC 1 PQ. 40 Of 55

Debtor 1 Car'ton Roark Case number (ifkmvm)
First Name Middle Name Last Name

must Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

m No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

q No. Go to line 7.

El Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations such as
child support and alimony, Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases tiled on or after the date of adjustment

m Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you hled for bankruptcy, did you pay any creditor a total of $600 or more?
El No. Go to line 7.

El Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations such as child support and
alimony, Also, do not include payments to an attorney for this bankruptcy case.

Dates of Total amount paid Amount you still owe Was this payment for...
payment

$ $ cl Mortgage
n Car

Number street Cl credit card

 

Creditors Name

 

n Loan repayment

 

a Suppliers or vendors
n Other

 

City State Z|P Code

 

$ $ m Mortgage
cl Car
El Credit card

 

Creditors Name

 

Number Street
a Loan repayment

 

n Suppliers or vendors

 

 

 

 

city seaie ziP code a other
$ $ n Mortgage
Creditors Name
n Car
U credit card

Number Street
n Loan repayment

 

n Suppliers or vendors
U Other

 

City State ZlP Code

 

thcial Form 107 Statement of Financial Affairs for lndividuals Filing for Bankruptcy page 3

 

Case 18-04093-LA7 Filed 07/09/18 Entered 07/09/18 14201:46 DOC 1 PQ. 41 Of 55

 

Debtor1 Carlton Roark

Case number (irkmmi>
First Name Middle Name Last Name

7. V\rithin 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
lnsiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an cfticer, director, person in contro|, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C_ § 101. |nclude payments for domestic support obligations
such as child support and alimony.

MNo

cl ¥es. List all payments to an insider.

 

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
payment paid owe
$ $
lnsiders Name
Number Street
City State ZlP Code
$ $

 

 

lnsider‘s Name

 

Number Street

 

 

City State ZlP Code

8. Vlhthin 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt mat benefited
an insider?

|nclude payments on debts guaranteed or cosigned by an insider.

MNO

n Yes. List all payments that benefited an insider.

Dates of Total amount Amount you still Reason for this payment

payment paid owe |nclude creditors name

 

lnsiders Name $ $

 

Number Street

 

 

City State ZlP Code

 

lnsider's Name

 

Number Street

 

 

City State ZlP Code

thcial Form 107 Statement of Financial Affairs for lndividuals Fi|ing for Bankruptcy page 4

 

Case 18-04093-LA7 Filed 07/09/18 Entered 07/09/18 14201:46 DOC 1 PQ. 42 Of 55

Debtor 1 Car|ton Roa rk Case number (inrmm)
First Name Middle Name Last Name

ldentify Legal Actions, Repossessions, and Foreclosures

9. Vlrrthin 1 year before you filed for bankruptcy, were you a party in any |awsuit, court action, or administrative proceeding?
List all such matters including personal injury cases small claims actions divorces collection suits paternity actions support or custody modihcations,
and contract disputes

n No
§ Yes. Fill in the details

Nature of the case Court or agency Status of the case

Defamation for something | San Diego Superior Court

 

 

 

 

 

 

 

 

Case title Ha"eck Vs' D°e did not do. Please see court Name cl Pe"°"‘g
cover letter. lt's the sole El on appeal
reason for this BK and why N`:'r`:’£rw;:; Br°adway g Concluded
l now cannot obtain a `ob

Case number 37'201 1'001 0032&1 1 San DiegO CA 92101

City State ZlP Code
Case title C°un Name cl Pending
n On appeal
Number street n Concluded
Case number
City State ZlP Code

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, gamished, attached, seized, or |evied?
Check all that apply and fill in the details below.

w No. Go to line 11.
a Yes. Fill in the information below.

Describe the property Date Va|ue of the property

 

Creditors Name

 

Number Street Explain what happened

|;l Property was repossessed

n Property was foreclosed.

m Property was gamished.

city stare zlP code cl Property was attached, seized, or levied.

 

 

Describe the property Date Va|ue of the property

 

Creditors Name

 

Number Street
Explain what happened
Property was repossessed.
Property was foreclosed
Property was garnished.
Property was attached, seized, or levied.

 

 

City State ZlP Code

DUUU

thcial Form 107 Statement of Financial Affairs for lndividuals Filing for Bankruptcy page 5

 

 

Case 18-04093-LA7 Filed 07/09/18 Entered 07/09/18 14201:46 DOC 1 PQ. 43 Of 55

Debtor 1 Camon Roark Case number (irkrmm
Fist Name Middle Name Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

mNo

El Yes Fill in the details

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditor's Name
$

` Number Street
l
i
l

C"\v State ZlP Code Last 4 digits of account number: XXXX-

12. VWthin 1 year before you filed for bankruptcy, was any of your property in the possession of an assian for the benefit of
creditors a court-appointed receiver, a custodian, or another official?

a No
a Yes

m List Certain Gifts and Contributions

13. Vlhthin 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

m No
El Yes Fill in the details for each gift

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Va|ue
per person the gifts
_ $
Person to Whom You Gave the Grft
$
Number Street
City State ZlP Code
Person’s relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Va|ue
per person the gifts
_ $
Person to Whom You Gave the Glf\
$

 

 

Number Street

 

City State ZlP Code

Person’s relationship to you

thcia| Form 107 Statement of Financial Affairs for lndividuals Fi|ing for Bankruptcy page 6

 

Case 18-04093-LA7 Filed 07/09/18 Entered 07/09/18 14201:46 DOC 1 PQ. 44 Of 55

Debtor 1 Carlton Roark

Case number (irlmm~ri)
l='rst Name Middle Name Last Name

14.Wlthin 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

mNo

El Yes. Fill in the details for each gift or contribution

 

Gifls or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed
_ $____
Charity's Name
$

 

 

Number Street

 

city state ziP code

m List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

ElNo

El Yes Fill in the details

Describe the property you lost and Describe any insurance coverage for the loss Date of your Va|ue of property
how the loss occurred y , 4 _ _ loss lost
|nclude the amount that insurance has pald. List pending insurance
claims on line 33 of Schedule A/B.' Pmperty_
$

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?

|nclude any attorneys bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

mNo

El Yes Fill in the details

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
Person Who was Paid made
§
Number Street $
$

 

City State ZlP Code

 

Email or website address

 

 

Person Who Made the Payment, if Not Vou

 

Ochial Form 107 Statement of Financial Affairs for lndividuals Filing for Bankruptcy page 7

 

 

Case 18-04093-LA7 Filed 07/09/18 Entered 07/09/18 14201:46 DOC 1 PQ. 45 Of 55

center 1 Carlton Roark

Case number (irlrmm)
First Name Middle Name Last Name

Description and value of any property transferred Date payment or Amount of
transfer was made payment

 

Person Who Was Paid

 

Number Street

 

 

City State ZlP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

11. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

MNo

El Yes Fill in the details

 

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
made
Person Who Was Paid
Number Street _ $
$

 

1 City State ZlP Code

18. Within 2 years before you hled for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

|nclude both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property)_
Do not include gifts and transfers that you have already listed on this statement

M No
El Yes Fill in the details

Descrlption and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was rrlade

 

Person Who Rece`wed Transfer

 

Number Street

 

 

City State ZlF‘ Code

Person’s relationship to you

 

Person Who Received Transfer

 

Number Street

 

 

City State ZlP Code

Person’s relationship to you

Offlcial Form 107 Statement of Financial Affairs for lndividuals Filing for Bankruptcy page 8

 

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Debtor 1 Car|ton

Roark

 

First Name

Middle Name

Last Name

Case number (irlmerm)

19. Vlhthin 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

ENO

cl Yes. Fill in the details

Name of trust

Description and value of the property transferred

 

Part 8: Llst C¢rtaln Fl

nanclal Accounts, lnstrumente, $afe Deposlt Boxes, and $torage Unlts

Date transfer
was made

 

 

 

MNo

El Yes Fill in the details

§
§
t

l

Last 4 digits of account number

 

§ Name of Financial lnstitution
l

XXXX-

 

Number Street

 

 

City State

ZlP Code

 

Name of Financial institution

 

Number Street

 

 

City State

m No
Cl Yes Fill in the details

 

ZlP Code

Who else had access to it?

 

§ Name of Financial institution

Type of account or
instrument

n Checking

n Savings

cl Money market
n Brokerage

n Other

|:l checking

n Savings

m Money market
m Brokerage

cl Other

Describe die contents

 

Name

 

Number Street

 

Number Street

 

 

city state ziP code

 

city state

Offlcial Form 107

ZlP Code

Statement of Financial Affairs for lndividuals Filing for Bankruptcy

20. Vlhthin 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefrt,
closed, so|d, moved, or transferred?
|nclude checking, savings, money market, or other financial accounfs; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives associations and other financial institutions

Date account was Last balance before
closed, sold, moved, closing or transfer
or transfened

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities cash, or other valuables?

Do you still
have it?

E|No
uYes

page 9

 

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Debtor 1 Car|ton Roark Case number tamm
First Name Middle Name Last Name

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No
El Yes. Fill in the details.

 

 

Who else has or had access to it? Describe the contents Do you still
have it?
n No
Name of Storage Facllity Name n Y&s
Number Street Number Street

 

citystate zlP code

 

City State ZlP Code

m Identlfy Property You l'lold or control for Somoono Elso

 

23. Do you hold or control any property that someone else owns? |nclude any property you borrowed from, are storing for,
or hold in trust for someone.
w No
El Yes. Fill in the details.
Where is the property? Describe the property Va|ue

 

Owner's Name s

 

L Street

 

Number Street

 

 

 

city state zlP code

 

 

City State ZlP Code

leo Dotalls About Envlronmontal lnformatlon

 

For the purpose of Part 10, the following definitions apply:

l Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances wastes or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances wastes or material.

l Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

l Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices releases and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

dNo

Cl Yes. Fill in the details.

 

 

 

Govemmental unit Environmental law, if you know it Date of notice
Name of site Govemmental unit
Number Street Number Street
City State ZlP Code

 

 

City State ZlP Code

Offlcial Form 107 Statement of Financial Affairs for lndividuals Fi|ing for Bankruptcy page 10

 

Case 18-04093-LA7 Filed 07/09/18 Entered 07/09/18 14201246 DOC 1 PQ. 48 Of 55

Debtor 1 Car|ton Roark Case number (irkmw)
last Name Middle Name Last Name

25. Have you notified any governmental unit of any release of hazardous material?

MNo

El Yes. Fill in the details.

 

 

 

 

Govemmental unit Environmenul law, if you know it Date of notice
l
§
1 Name of site Govemmenta| unit
§
t Number Street Number Street
§
l
§ city state zlP code

City State ZlP Code

26. Have you been a party in any judicial or administrative proceeding under any environmental law? |nclude settlements and orders.

ZNo

L`.l Yes. Fill in the details.

 

 

 

 

 

Court or agency Nature of the case Stams of the
case
Case title
Court Name cl Pendmg
a 0n appeal
Number street m Concluded
case number city state zlP code

mha Dotalls About Your Buslnm or Connoctlons to Any Buslnoss

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
w A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
n A member of a limited liability company (LLC) or limited liability partnership (LLP)
n A partner in a partnership
q An officer, director, or managing executive of a corporation

n An owner of at least 5% of the voting or equity securities of a corporation

n No. None of the above applies. Go to Part 12.
n Yes. Check all that apply above and till in the details below for each business.

Describe the nature of the business Employer ldent‘rlicav'on number
Stacksource C/o WeWork Do not include Social Security number or |TlN.

Business Name

 

 

 

 

 

 

 

 

 

51 1 Ave of the Americas Commerclal Real Estate Loan brokerage E|N: _i _7 ___ 5_ 6__ Z_ 9_ 1_£
Number Street
Unit 94 1 Name of accountant or bookkeeper Dates business existed

Tim Mi|azzo
New Yerl< city NY 10011 Fr°m"___’z"Z°"T° __°6'"’2°18
city slate zlP code

Describe the nature of the business Employer ldentilication number
31_0LOanOfncer'Com Do not include Social Security number or lTlN.
Buslness Name

Commerc` l Real Estat L an r k e
1251 Rancho Carmel Drive la e o b o eng E|N= _ ____ - _______
Number Street

Name of accountant or bookkeeper Dates business existed
Unit 503203

l Car|ton Roark

city state zlP code

Offlcial Form 107 Statement of Financial Affairs for lndividuals Fi|ing for Bankruptcy page 11

 

 

Case 18-04093-LA7 Filed 07/09/18 Entered 07/09/18 14201:46 DOC 1 PQ. 49 Of 55

Debtor 1 Car|ton Roark Case number (irle»<mi)

First Name Middle Name Last Name

Employer ldentilication number
Do not include Social Security number or lTlN.

Describe the nature of the business

 

Business Name

 

 

ElN:___-________
Number s"°°' Name of accountant or bookkeeper Dates business existed
F,°m 10 07/09/2018

 

city state zlP cede

 

28. Wlthin 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? |nclude all financial
institutions creditors or other parties

El No
21 Yes. Fill in the details below.

 

Date issued
San Diego Superior Court 12/16/2016
Ni""° Mrll/oolww

330 West Broadway

Number Street

 

 

San Diego CA 92101

City State ZlP Code

 

 

| have read the answers on this Statement of Financial Affairs and any attachments and l declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

x Mz€%{/ x

 

Sig\a!l'rrea% of Debtor 1 Signature of Debtor 2

Date 07/09/201 8 Date
Did you attach additional pages to Your Statement of Financial Affairs for lndividuals Filing for Bankruptcy (Official Form 107)?
w No
n Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

MNO

El Yes. Name of person . Attach the Bankruptcy Petitl'on Preparefs Notice,
Declaration, and Signature (Oliicia| Form 1 19).

 

 

 

Offlcial Form 107 Statement of Financial Affairs for lndividuals Filing for Bankruptcy page 12

 

Case 18-04093-LA7 Filed 07/09/18 Entered 07/09/18 14201:46 DOC 1 PQ. 5O Of 55

Fill in this information to identify your case:

Carlton Roark
Debtor 1

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if flling) Firs Name Middle Name Last Name

 

United States Bankruptcy Court for the: Southem District of CA

‘S“'"°’ Cl cheek if this is an
(lfknewn) amended filing

Case number

 

 

 

Offlcial Form 108
Statement of lntention for lndividuals Fi|ing Under Chapter 7 wis

 

lf you are an individual filing under chapter 7, you must fill out this for'm if:

l creditors have claims secured by your property, or

l you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you tile your bankruptcy petition or by the date set for the meeting of creditors
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
|f two married people are |iling together in a joint case, both are equally responsible for supplying correct infonnation.

Both debtors must sign and date the form.

Be as complete and accurate as possible. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Your Creditors Who Have Secured Claims

 

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.

identify the credittw and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?

Cred't r . . . .

nam;:° s North island Financial Credit Unlon a S“"e"de' the P'°pe"y- cl N°

El Retain the property and redeem it. m Yes
Description of , _ .
property 2007 Lexus 470 GX vehicle w Retain the property and enter into a
Rea#irmation Agreement.

securing debt:
l;l Retain the property and [explain]:

 

 

Creditor’s

None n Surrender the property. l:l No
name:
n Retain the property and redeem it. El Yes
D ` ' f
p;;;r:;lon o El Retain the property and enter into a
Reafiinnation Agreement.

securing debt:
El Retain the property and [explain]:

 

 

 

Creditor’s N Cl Surrender the property. n NO
name: one _ ,
. _ cl Retain the property and redeem lt. l;l Yes
E;sp::?;'°n of n Retain the property and enter into a
Reafiirmation Agreement.

securing debt:
n Retain the property and [explain]:

 

 

Creditors

h .

name: None 13 Surrendert e property |;l No
n Retain the property and redeem it. n Yes

D ' t`on of . .

p;;;n:yl Cl Retain the property and enter lnto a

securing debt Reafhrmation Agreement.

El Retain the property and [explain]:

 

Official Form 108 Statement of intention for lndividuals Filing Under Chapter 7 page 1

 

Case 18-04093-LA7 Filed 07/09/18 Entered 07/09/18 14201:46 DOC 1 PQ. 51 Of 55

Debtor1 Cal'ltOn Roark Case number (lrknownl

First Name Middle Name Last Name

m List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066),
Hll in the information below. Do not list real estate leases Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 

 

   

 

 

 

 

 

 

Describe your unexpired personal property leases Will the lease be assumed?
Lessor’s name: None |;| No
_ . El Yes

Descnptlon of leased

property:

Lessor’s name: None l;| No

Description of leased n Yes

property:

Lessor’s name: None E| No

Description of leased a Yes

property:

Lessor’s name: None [;] No
n Ves

Description of leased

Pr°pertyf

Lessor’s name: None n No
El Yes

Description of leased

property:

Lessor’s name: None El No
n Yes

Description of leased

property:

Lessor’s name: None |;| N°
n Yes

Description of leased
property:

 

 

Under penalty of perjury, l declare that l have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

 

 

Sigdtwe of Debtor 1 Signature of Debtor 2
Date 07/09/2018 Date
MM/ DD / YYYY MM/ DD/ wYY

thcial Form 108 Statement of |ntention for lndividuals Filing Under Chapter 7 page 2

Case 18-04093-LA7 Filed 07/09/18 Entel’ed 07/09/18 14201:46 DOC 1 PQ. 52 Of 55

Fill m this information to identify your Caeei Check one box only as directed in this form and in

Form122A-1Supp:

 

 

 

 

Debtor 1 Carlton Roark
First Name Middle Name Last Name
m 1. There is no presumption of abuse.
Debtor 2
(Spouse iff'""g) Fie' Name Midd'eN-'ime Last Name l:l 2. The calculation to determine if a presumption of
abuse a lies will be made under Cha ter 7

United states Bankruptcy COUI`\ fO\' the: Southern DiStl'iC‘l Of CA MeanS ?:st Calculation (Official Form quA_Z)

(State) .
Case number [] 3. The Means Test does not apply now because of
(" k"°‘”") qualified military service but it could apply later.

 

 

 

Ei cheek ifthis is an amended liling

Offlcial Form 122A-1

 

Chapter 7 Statement of Your Current Monthly income 12115

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for being accurate. if more
space is needed, attach a separate sheet to this form. include the line number to which the additional information applies On the top of any
additional pages, write your name and case number (if known). if you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exernptr'on from Presumption of
Abuse Under§ 707(b)(2) (Official Form 122A-1Supp) with this form.

Part 1: Calculate Your Current Monthly income

1. What is your marital and filing status? Check one only.

El Net married. Fill out column A, lines 2-11.
a Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

m Married and your spouse is NOT filing with you. You and your spouse are:
m Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

El Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements 11 U.S.C. § 707(b)(7)(B).

Fill in the average monthly income that you received from all sources derived during the 6 full months before you tile this
bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are liling on September 15. the G-month period would be March 1 through
August 31. if the amount of your monthly income varied during the 6 months add the income for all 6 months and divide the total by 6.
Fill in the result Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property in one column only. if you have nothing to report for any iine, write $0 in the space.

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

2. Your gross wages salary, tips bonuses overtime, and commissions 0 00
(before all payroll deductions). $M $___'.___

3. Alimony and maintenance payments Do not include payments from a spouse if
column B is tilled in. $ O-OO $ 0-00

4. All amounts from any source which are regularly paid for household expenses
of you or your dependents including child support. include regular contributions
from an unmarried partner, members of your household, your dependents parents
and roommates. include regular contributions from a spouse only if Column B is not

H||ed in. Do not include payments you listed on line 3. $__M $__M

5. Net lncome from operating a business profession, Debtor 1 Debtor 2

 

or farm

Gross receipts (before all deductions) $_M $_

Ordinary and necessary operating expenses - $ 0-00 - $

Net monthly income from a business profession, or farm $ 0.00 $ 0.00 ::r';y_) $ 0-00 $ 0'00
6. Net income from rental and other real property Debtob1 0 Debtor 2

Gross receipts (before all deductions) '0 $____

Ordinary and necessary operating expenses - $ 0.00 - $

Net monthly income from rental or other real property $ 0_00 $ 0_00 :;,zy..) $ 0'00 $ 0'00
7. lnterest, dividends and royalties $ O-OO $__QM

 

 

Offlcial Form 122A-1 Chapter 7 Statement of Your Current Monthly income page 1

 

 

Case 18-04093-LA7 Filed 07/09/18 Entel’ed 07/09/18 14201:46 DOC 1 PQ. 53 Of 55

 

 

 

Debtor 1 Car|ton Roark Case number (irle»own)
First Name Middle Name Last Name
Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
8. Unemployment compensation $ 0.00 $ 0.00

Do not enter the amount if you contend that the amount received was a benefit
under the Social Security Act. lnstead, list it here: .................................

For you ..................... $ 0.00
For your spouse ..................................................................... $ 0.00

9. Pension or retirement income. Do not include any amount received that was a

benefit under the Social Security Act. $ jj gm $ 0.00

10. income from all other sources not listed above, Specify the source and amount.
Do not include any benefits received under the Social Security Act or payments received
as a victim of a war crime, a crime against humanity, or intemationai or domestic
terrorism. if necessary, list other sources on a separate page and put the total below.

 

 

 

 

 

 

 

 

 

 

$
Total amounts from separate pages, if any. + $ + $
1 1. Calculate your total current monthly income. Add lines 2 through 10 for each § + l _
eolumn. Then add the total for column A to the total for column B. § $ 3,000.00 § $ O-OO ' $ 3,000.00
Tohl current
montth income
m Deterrnine Whether the Means Test Applies to You
12. Calculate your current monthly income for the year. Fo|low these steps:
12a. Copy your total current monthly income from line 11. ______ Copy line 11 here')

 

Multiply by 12 (the number of months in a year).
12b. The result is your annual income for this part of the form. 12b. $_3§_,_0_0_0__0_0

13. Calculate the median family income that applies to you. Follow these steps:

 

l=ill in the state in which you live. Califomia §
Fill in the number of people in your household. § 3 §
Fill in the median family income for your state and size of househo|d. .13. $MO_O

 

 

 

 

To find a list of applicable median income amounts go oniine using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk’s office.

14. How do the lines compare?

14a. m Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3.

14b. n Line 12b is more than line 13_ On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
Go to Part 3 and fill out Form 122A-2.

Sign Beiow

 

By signing here l declare under penalty of pe `u hat the information on this statement and in any attachments is true and correct.
x M z M/ X
V

signature of Debtor 1 / signature of Debtor 2
Date 07/09/2018 Date
MM/DD /YYYY MM/ DD /YYYY

lf you checked line 14a, do NOT flll out or file Form 122A-2.
if you checked line 14b, fill out Form 122A-2 and Hle il with this form.

 

 

 

Offlcial Form 122A-1 Chapter 7 Statement of Your Current Monthly income page 2

Case 18-04093-LA7 Filed 07/09/18 Entered 07/09/18 14201246 DOC 1 PQ. 54 Of 55

Fill in this information to identify your case:

  

Debtor 1 Carlton Roark

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Southem District of CA
(State)

Case number
(lf known)

 

a Check if this is an amended filing

 

Offlcial Form 122A-1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2) 12/15

 

 

File this supplement together with Chapter 7 Statement of your Current Mondrly lncome (Official Form 1 22A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. lf two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

ldentify the Kind o'f Debts You Have

 

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101 (8) as “incurred by an ind`widua| primarily for a
personal, family, or household purpose.” Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
lndividuals Filing for Bankruptcy (Official Form 101 ).

m No. Go to Form 122A-1; on the top of page 1 of that fonn, check box 1, There is no presumption of abuse, and sign Part 3. Then
submit this supplement with the signed Form 122A-1.

El Yes. co to Part 2.
memine Whether Military Service Provisions Apply to You

2. Are you a disabled veteran (as denned in 38 U.S.C. § 3741(1))?

cl No. Go to line 3.

cl Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
10 U.S.C. § 101(d)(1)); 32 U.S.C. § 901(1).

El No. Go to line 3_

L_.l Yes. Go to Form 122A-1; on the top of page 1 of that form. check box 1, There is no presumption of abuse, and sign Part 3.
Then submit this supplement with the signed Form 122A-1.

3. Are you or have you been a Reservist or member of the National Guard?
El No. Complete Form 122A-1. Do not submit this supplement
a Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).

n No. Complete Form 122A-1. Do not submit this supplement
n Yes. Check any one of the following categories that applies:

El l was called to active duty after september 11, 2001, for at least lf you Checked one cf the Cafego'ies w the left 90 to

90 days and remain on active duty. Form 122A-1. On the top of page 1 of Form 122A-1,
check box 3, The Means Test does not apply now, and
sign Part 3. Then submit this supplement with the signed
Form 122A-1. You are not required to fill out the rest of
Official Form 122A-1 during the exclusion period. The

n l was called to active duty after September 11, 2001, for at least
90 days and was released from active duty on ,
which is fewer than 540 days before l flle this bankruptcy case.

n l am performing a homeland defense activity for at least 90 days. exc'”$i°" Pe'i°d means the time you are °" active duty
or are performing a homeland defense activity, and for
n l performed a homeland defense activity for at least 90 days, 540 days aftemard_ 11 u_S_C_ § 707(b)(2)(D)(i;)_
ending on , which is fewer than 540 days

 

lf your exclusion period ends before your Use is closed,

before l me this bankruptcy case.
you may have to file an amended form later.

 

 

 

Oficial Form 122A-1Supp Statement of Exemption from Presumption of Abuse Under § 707(b)(2) page 1

 

 

Case 18-04093-LA7 Filed 07/09/18 Entered 07/09/18 14201246 DOC 1 PQ. 55 Of 55

cARLToN R°ARK

11251 Rancho Carmel Drive #503203, San Diego, Califomia 92150
Cell/Text: (310) 562-6633 / Email: cozuyh7260@att.net

]uly 9, 2018
RE: lndividual Chapter 7 Bankruptcy pro se filing

United States Bankruptcy Court
(Southern District of California)
325 West F Street

San Diego, Califomia 92101

To Whom it May Concern:

Given the lack of any meaningful outstanding debt in this filing for Chapter 7 bankruptcy, I thought an
explanation would be necessary.

I am only filing this Chapter 7 bankruptcy to try and remove a non-dischargeable ovr)ressive and uniusth
levied judgment of approximately $1MM that was placed against me by San Diego County Credit Union

(SDCCU). I intend however to reaffirm all other debts and obligations

l fully suspect that SDCCU, the judgment creditor will object to the discharge of this obligation and will file for
an adversary proceeding This is also the only reason for my pro se filing. I cannot afford an attorney to litigate
an adversary proceeding

If SDCCU files for an adversary proceeding, I am praying that I Will then finally be afforded the opportunity to
present evidence to at least the Bankruptcy Court as to Why the San Diego Superior Court should not have
imputed willful intent and malice (much less issued the judgment against me at all) to make this judgment non-
dischargeable. This non-dischargeable judgment was based on the concealment of exculpatory evidence
exonerating me and false statements of material facts made against me in court under the cloak of litigation
privilege by the attorney representing my co-defendant and former employer, North Island Financial Credit
Union (NIFCU). As a result of the foregoing IWas hit with terminating sanctions for the alleged spoliation of
evidence which stripped me of my right to a trial before my defense attorneys could introduce any evidence
The voluminous amount of evidence that was withheld for trial by my defense attorneys (Who incidentally Were
paid by my former co-defendant and employer's insurance carrier) Was therefore not ”in the papers” and
consequently could never be introduced to the court or in my appeals. This is my final and only opportunity to
discharge this debt before my family (who depend entirely on me) and I are overcome by financial ruin and
made forever destitute. We cannot have a fresh start Without the full discharge of this judgment

This outstanding judgment and the very public internet links to it have also made it impossible for me to secure
employment despite an otherwise stellar reputation in the industry .

Respectfully,

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Carlton Roark

